                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


  IN RE:       Shelly Mae Dickensheets fka
  Shelly M Groft fka Shelly Keeney aka Shelly
  M Dickensheets fka Shelly Mae Groft                                            Chapter 13
        Daniel N. Dickensheets aka Dan N
  Dickensheets
                               Debtor(s)
                                                                           NO. 19-00983 HWV
  The Bank of New York Mellon as Trustee for
  CWABS, Inc. Asset-Backed Certificates,
  Series 2006-11
                         v.
  Shelly Mae Dickensheets fka Shelly M Groft
  fka Shelly Keeney aka Shelly M Dickensheets
  fka Shelly Mae Groft
  Daniel N. Dickensheets aka Dan N
  Dickensheets
                         and
  Charles J. DeHart, III Esq.
                               Trustee

                                                 ORDER

        Upon Consideration of the Certification of Default filed by the Moving Party in accordance with the
Stipulation of the parties approved on February 3, 2020 it is ORDERED AND DECREED that:
        The Automatic Stay of all proceedings, as provided under 11 U.S.C. Sections 362 and 1301 of the
Bankruptcy Reform Act of 1978 (The Code) 11 U.S.C. 11 U.S.C. Sections 362 and 1301 (if applicable), is
modified to allow The Bank of New York Mellon as Trustee for CWABS, Inc. Asset-Backed Certificates,
Series 2006-11 and its successor in title to proceed with the execution process through, among other remedies
but not limited to Sheriff's Sale regarding the premises 40 Sandy Court Hanover, PA 17331.




      Dated: March 19, 2021                      By the Court,



                                                 Henry W. Van Eck, Chief Bankruptcy Judge             (LS)




Case 1:19-bk-00983-HWV              Doc 99 Filed 03/19/21 Entered 03/19/21 11:49:02                          Desc
                                    Main Document    Page 1 of 1
